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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF OKLAHOMA

GOVINDA, LLC                    )
d/b/a HAMPTON INN MIDWEST CITY, )
                                )
             Plaintiff,         )
                                )
v.                              )                   Case No.    CIV-20-542-R
                                )
COLUMBIA INSURANCE GROUP,       )
                                )
             Defendant.         )

                             NOTICE OF REMOVAL

      Columbia Insurance Group (“Columbia”) gives notice to all parties that this

action is hereby removed from the District Court of Oklahoma County, Oklahoma

to the United States District Court for the Western District of Oklahoma, pursuant

to 28 U.S.C. § 1441(b). In support of removal, Columbia would show this Court as

follows:

      As required by 28 U.S.C. § 1446(a), a copy of the “Petition for Declaratory

Judgment” filed in the state court by Plaintiff Govinda, LLC d/b/a Hampton Inn

Midwest City on May 27, 2020 is submitted herewith as Exhibit 1. As further

required by LCvR81.2(a), a copy of the state court docket sheet is submitted

herewith as Exhibit 2. No motions or discovery requests are pending.

      Columbia became aware of the “Petition for Declaratory Judgment” shortly

after it was filed, but has not yet been formally served. This Notice, being filed by


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Columbia within 30 days after notice of suit, is therefore timely pursuant to 28

U.S.C. § 1446(b)(1).

      The “Petition for Declaratory Judgment” correctly states that the parties to

this lawsuit are completely diverse. [See Exhibit 1, p. 1, ¶¶ 1-2.] Columbia would

specifically show this Court that its state of incorporation and principal place of

business (headquarters) is Missouri. The Petition further states that the amount in

controversy exceeds $75,000 [Exhibit 1, p. 1, ¶ 3], and that the coverage available

under the policy at issue exceeds $1.6 million [Exhibit 1, p. 2, ¶ 5]. Jurisdiction is

therefore proper in this Court pursuant to 28 U.S.C. § 1332(a)(1). Venue is also

proper pursuant to 28 U.S.C. § 1391(b)(2), as the events giving rise to this lawsuit

occurred in Oklahoma County, in the territory of this Court.

      Pursuant to 28 U.S.C. § 1446(d), Columbia affirmatively represents and

certifies that a copy of this Notice is also being filed with the Court Clerk of the

District Court of Oklahoma County, in order to effect the removal.

      By filing this Notice of Removal, Columbia waives its right to those defenses

arising under Fed. R. Civ. P. 12(b)(1)-(5). However, Columbia specifically reserves

its right to assert any and all other defenses available to it, including but not

limited to the right to assert it is not a proper party defendant to this action.




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                          Respectfully submitted,

                          MILLER & JOHNSON, PLLC

                    By:   /s/Jami Rhoades Antonisse
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                          J. Logan Johnson, OBA #12722
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                         CERTIFICATE OF SERVICE

      :I hereby certify that on June 10, 2020, I electronically transmitted the
attached document to the Clerk of Court using the ECF System for filing.
Based on the records currently on file, the Clerk of Court will transmit a
Notice of Electronic Filing to the following ECF registrants:

            Reggie N. Whitten, OBA #9576
            Michael Burrage, OBA #1350
            J. Revell Parrish, OBA #30205
            J. Renley Dennis, OBA #33160
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            Attorneys for Plaintiff



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                                          Brad Miller
                                          J. Logan Johnson
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                                          Grace E. Dawkins




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